                       IN THE UNITED STATES DISTRICT COURT FOR
                        THE EASTERN DISTRICT OF PENNSYLVANIA

         UNITED STATES OF AMERICA                               :

                         v.                                     : CRIMINAL NO. 19 - 64

         JOHN DOUGHERTY                                         :
         ROBERT HENON
         BRIAN BURROWS                                              :
         MICHAEL NEILL
         MARITA CRAWFORD                                            :
         NIKO RODRIGUEZ
         BRIAN FIOCCA                                               :
         ANTHONY MASSA

        GOVERNMENT’S MEMORANDUM OF LAW IN SUPPORT OF KEEPING
   THE AFFIDAVIT SUBMITTED IN SUPPORT OF THE INTIAL INTERCEPTION
                               SEALED

        The United States of America, by and through its attorneys, Jennifer A. Williams,

Attorney for the United States, Acting Under Authority Conferred by 28 U.S.C. § 515, and the

undersigned Assistant United States Attorneys, in response to the Court’s request, respectfully

submits that the affidavit of FBI Special Agent Jason Blake, which was submitted in support of

the first application for a Title III interception in this matter, remain under seal, for the reasons

set forth below.

        During 2015 and 2016, this Court, pursuant to 18 U.S.C. § 2518, granted orders

authorizing the interception of wire and electronic communications over a number of

telephones. The first order, authorizing interceptions on a cellular telephone used by defendant

John Dougherty, was signed by this Court on April 29, 2015. The Order and the affidavit

submitted in support of the order are the subjects of the defendants’ pending motion to suppress

the results of the interception, which is based on the alleged lack of necessity set forth in the first

application and affidavit.

                                                       1
       The statute governing Title III mandates that wiretap applications and orders be sealed,

absent a showing of good cause why they should be unsealed. The pertinent provision reads as

follows:

                   (b) Applications made and orders granted under this chapter shall
           be sealed by the judge. Custody of the applications and orders shall be
           wherever the judge directs. Such applications and orders shall be disclosed
           only upon a showing of good cause before a judge of competent
           jurisdiction . . . 18 U.S.C. § 2518(8)(b).

       On February 26, 2019, this Court signed an order, filed under seal, which authorized the

temporary unsealing of the Title III materials in this case for the limited purpose of providing

the materials to the defense in discovery. The order authorized all counsel to use the materials

to prepare for trial and for use at trial. The materials remain under seal.

       Portions of the affidavit have been cited, and quoted, in the motion filed by the defendant

and the government’s response, neither of which were filed under seal. There are other

passages, which are arguably not relevant to the motion, and were not cited in either filing,

which weigh in favor of keeping the affidavit sealed. 1 The affidavit identifies at least four

individuals, none of whom have been charged, or identified by name as uncharged

coconspirators, whose conduct, as described in the affidavit, is arguably in furtherance of the

charged conspiracy to embezzle. Another uncharged individual is characterized in the affidavit

as knowingly complicit.




       1
               A few of these passages were cited in the government’s response with the names
of the uncharged individuals redacted. See Government’s Response, page 20 (“A brother of Target
Interceptee Brian Fiocca, accompanied by his girlfriend, made suspect purchases in late 2014 and
early 2015 using Dougherty’s Local 98 credit card. Id. at ¶ 31, p. 22, p. 28, n. 7 . . . A Local 98
employee purchased a $300 Cole Haan gift card, which a member of Dougherty’s family used for
personal purchases. Id. at ¶ 46, n. 13”).
                                                      2
       Although there was good cause to temporarily unseal the affidavit for the limited

purpose of providing it to the defense for trial preparation, the affidavit should otherwise

remain sealed. See, e.g., In re New York Times Co., 828 F.2d 110, 115 (2d Cir.1987);

Applications of Kansas City Star, 666 F.2d 1168, 1176 (8th Cir. 1981) (privacy of other people

which might be affected by disclosure is a factor in good cause determination of Section 2518).

       For these reasons, the government submits that the initial affidavit of FBI Special Agent

Jason Blake submitted in support of the Title III interception remain sealed.

                                                Respectfully submitted,

                                               JENNIFER ARBITTIER WILLIAMS
                                               Attorney for the United States, Acting Under
                                               Authority Conferred by 28 U.S.C. § 515

                                               RICHARD P. BARRETT
                                               Assistant United States Attorney
                                               Chief, Corruption and Labor Racketeering Section

                                               /s/ Frank R. Costello, Jr.
                                               FRANK R. COSTELLO, JR.
                                               PAUL L. GRAY
                                               BEA WITZLEBEN
                                               Assistant United States Attorneys




        Dated: June 24, 2020




                                                     3
                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this date, I electronically filed the foregoing response with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to

the attorneys of record for the defendants, who are identified below.

       Henry Hockeimer and David Axelrod
       Counsel for Defendant John Dougherty

       Brian McMonagle
       Counsel for Defendant Robert Henon

       Thomas Bergstrom
       Counsel for Defendant Brian Burrows

       Joseph Capone
       Counsel for Defendant Michael Neill

       Fortunato Perri
       Counsel for Defendant Marita Crawford

       Paul Hetznecker
       Counsel for Defendant Niko Rodriguez

       Nina Spizer
       Counsel for Defendant Brian Fiocca

       William Brennan
       Counsel for Defendant Anthony Massa


                                                           /s/ Frank R. Costello, Jr.
                                                           FRANK R. COSTELLO, JR.
                                                           Assistant United States Attorney

       Dated: June 24, 2020




                                                   4
